          Case 1:17-cv-02613-KPF Document 18 Filed 07/31/17 Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


KEYU LONG,

                            Plaintiff,
                                                     Case No. 1:17-cv-02613 (KPF)
                      -v-

AMWAY CORP.,
                            Defendant.



                              DEFENDANT AMWAY CORP.’S
                            MOTION TO COMPEL ARBITRATION

       PLEASE TAKE NOTICE that Defendant Amway Corp. (“Amway”), by and through its

undersigned counsel, hereby moves the Court, as soon as counsel may be heard, for an order

compelling arbitration on an individual basis of the claims asserted in Plaintiff’s Complaint, and

either dismissing or staying this action pending the completion of arbitration. In support of its

Motion, Amway submits the attached Memorandum of Law, Declaration of David J. Fioccola,

Declaration of Gary VanderVen, Declaration of Si Huijie, and the exhibits attached thereto.




ny-1290464
         Case 1:17-cv-02613-KPF Document 18 Filed 07/31/17 Page 2 of 3



Dated: New York, New York           Respectfully submitted,
       July 31, 2017


                                    By:    /s/ David J. Fioccola
                                           David J. Fioccola
                                           Adam J. Hunt
                                           Morrison & Foerster LLP
                                           250 West 55th Street
                                           New York, New York 10019
                                           Tel: (212) 468-8000
                                           Fax: (212) 468-7900
                                           E-mail: dfioccola@mofo.com

                                           Edward J. Bardelli
                                           R. Michael Azzi
                                           Warner Norcross & Judd LLP
                                           900 Fifth Third Center
                                           111 Lyon St., NW
                                           Grand Rapids, MI 49503-2487
                                           Tel: (616) 752-2000
                                           Fax: (616) 752-2500
                                           E-mail: ebardelli@wnj.com
                                           E-mail: mazzi@wnj.com

                                           Attorneys for Defendant
                                           Amway Corp.




ny-1290464
          Case 1:17-cv-02613-KPF Document 18 Filed 07/31/17 Page 3 of 3



                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that he caused a true and complete copy of the within

AMWAY CORP.’S MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION TO

COMPEL ARBITRATION to be served via CM/ECF on the following counsel of record:

                               Louis J. Maione
                               Law Offices of Louis J. Maione, P.C.
                               350 Central Park West, 3d Floor
                               New York, NY 10025
                               Telephone: (917) 549-5693
                               Louisjmaione3@gmail.com

This 31st day of July, 2017.

                                             /s/ David J. Fioccola
                                             David J. Fioccola




ny-1290464
